     Case 3:12-cr-01391-IEG    Document 25   Filed 06/04/12   PageID.42        Page 1 of 1

        FILED'
                              TED STATES DISTRICT COURT
        JUN -.4 2012          HERN DISTRICT OF CALIFORNIA
                                                                                        , ....
                                                                  ~{"\\'i['}
                                                                                        I;)
                                                                  LUlL
                                             CASE NO. 12CR139 ­

                       Plaintiff,
                vs.

ARACELI ULLOA-LOPEZ     (1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

     8: 1324 (a) (1) (A) (ii) and (v) (II)



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: MAY 24, 2012
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                                             U.S. Magistrate Judge
